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 From:          Martinez, Adam (CFPB)
 To:            Paoletta, Mark (Detailee); Shapiro, Daniel (Detailee)
 Cc:            Dorfman, Victoria (Detailee)
 Subject:       Additional Info
 Date:          Monday, April 14, 2025 12:59:18 PM
 Attachments:   FW 20250213 CFPB Information Memo_CRE.msg
                CUI CRE List 4-14-25.xlsx


 Attached is the CRE staff list broken down by division/office along with the memo
 provided by Chris J. regarding their statutory competitive areas.




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DX-05_001
